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                      IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division


STEPHANIE SANTIAGO,                       )
                                          )
DONNA CHRISTIAN GALEAS UMANA,             )
                                          )                 Case No. ____________
Plaintiffs                                )
                                          )
       v.                                 )
                                          )
GREENSPRING VILLAGE, INC.                 )
                                          )
and                                       )
                                          )
ERICKSON SENIOR LIVING, LLC               )
Defendant.                                )
                                          )
_________________________________________ )


SERVE:         CORPORATION SERVICE COMPANY
               Registered Agent for Greenspring Village, Inc.
               100 Shockoe Slip, Fl 2,
               Richmond, VA, 23219 - 4100, USA

SERVE:         CORPORATION SERVICE COMPANY
               Registered Agent for Erickson Senior Living, LLC
               100 Shockoe Slip, Fl 2,
               Richmond, VA, 23219 - 4100, USA


                                         COMPLAINT

       Plaintiffs Stephanie Santiago (“Santiago”) and Donna Christian Galeas Umana

(“Umana”) (collectively “Plaintiffs”), for their Complaint against Greenspring Village, Inc.

(“Greenspring”) and Erickson Senior Living, LLC (“Erickson”) (collectively “Defendant”), state

as follows:




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                                        INTRODUCTION

   1. Wage theft is rampant in the Commonwealth of Virginia, prompting the recent adoption

of new Virginia state laws designed to compensate its victims and incentivize employers’

compliance with the law.

   2. This is an action for violation of federal wage and hour laws by Plaintiffs, former hourly

non-exempt employees of Defendant Greenspring, a Virginia corporation, and Defendant

Erickson, a Maryland Corporation, which provide senior living services in the Commonwealth of

Virginia and in other jurisdictions, including at 7440 Spring Village Drive, Springfield, VA

22150, the location where Plaintiffs worked for Defendants.

   3. At all times during Plaintiffs’ employment Defendants compelled Plaintiffs to falsify the

records of their working hours for the purposes of calculating their pay. For varying periods

during their employment, Defendants deducted thirty (30) minutes each workday from Plaintiffs’

hours worked, ostensibly for a meal period, when in fact Plaintiffs’ supervisors required

Plaintiffs to work during that thirty-minute period. Plaintiffs were required to clock out for thirty

(30) minutes a day even though they almost never took an uninterrupted lunch break.

   4. Defendants never provided Plaintiffs with any policy or mechanism that would allow

them to claim their time worked during their thirty-minute lunch period. Plaintiffs were forced to

clock out for their lunch break using the Defendants’ “Kronos System” even when not taking

their breaks. Moreover, Plaintiffs’ supervisors expressly instructed Plaintiffs to fill out “missed

lunch forms” whenever they were too busy or had forgotten to clock out.

   5. At all times relevant during Plaintiff’s employment with Defendants, Defendants

knowingly forced Plaintiffs to work unpaid hours, hours which were normally outside of their

scheduled times. These unpaid wages and unpaid overtime were never recorded and were never



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paid to Plaintiffs. Defendants never provided Plaintiffs, with any policy or mechanism that

would allow them to claim their time worked during the periods in which Plaintiffs did not have

access to the “Kronos” timekeeping system.

    6. Accordingly, Defendants have failed and refused to pay Plaintiffs their straight time and

overtime pay in violation of the Fair Labor Standards Act, 29 U.S.C. § 201, et seq. (“FLSA”),

and the Portal-to-Portal Act, 29 U.S.C. § 251, et seq. Defendant’s actions as described herein

were willful.

                                 JURISDICTION AND VENUE

    7. This Court has original jurisdiction over this matter under 28 U.S.C. § 1331, because this

case arises under the provisions of the FLSA, 29 U.S.C. § 201, et seq.

    8. Venue is proper in the Eastern District of Virginia under 28 U.S.C. § 1391 (a) and (c)

because all the acts complained of occurred within the Commonwealth of Virginia and the

jurisdiction of this Court and because Defendant is subject to personal jurisdiction in this

District.

                                            PARTIES

    9. Plaintiff Santiago resides in Alexandria, Virginia. She was employed by Defendant

beginning on or about April 21, 2006 and continuing until June 4, 2021.

    10. Plaintiff Umana resides in Lorton, Virginia. She was employed by Defendant beginning

on or about June 14, 2015, and continuing until January 22, 2021.

    11. Defendant Greenspring is a corporation organized and existing under the laws of the

Commonwealth of Virginia, with its principal place of business in the Commonwealth of

Virginia and its primary office located at 7440 Spring Village Drive, Springfield, VA 22150.




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   12. Defendant Erickson is a corporation organized and existing under the laws of the

Commonwealth of Virginia, with its principal place of business in the Commonwealth of

Virginia and its corporate office located at 701 Maiden Choice Lane, Baltimore, Maryland,

21228

                                            FACTS

   13. During the periods of her employment with Defendants Plaintiff Santiago performed non-

exempt, clerical services at the Defendants’ primary office located at 7440 Spring Village Drive,

Springfield, VA 22150. Plaintiff Santiago performed a whole host of duties as a Home Health

Office Coordinator including, but not limited to billing, processing, claims, and management.

   14. Plaintiff Santiago had an assigned, fixed schedule from Monday through Friday

beginning at 8:30 A.M. until 5:00 P.M. Although her assigned work schedule never changed,

Plaintiff Santiago was expected to be available twenty-four (24) hours a day, seven (7) days a

week for Defendants. Plaintiff Santiago, upon instruction from her supervisors, was to be

available when contacted by phone or SMS outside of her work schedule, even on weekends. For

her work, Plaintiff Santiago was compensated at an hourly rate of $27.05 per hour.

   15. Plaintiff Santiago’s fixed work schedule included a built-in thirty-minute lunch break

which could be taken at whatever time she chose as well as two (2) fifteen (15) minute breaks.

Moreover, Plaintiff Santiago was instructed to always clock out for her lunch break using their

“Kronos” time keeping system, which recorded the hours which Defendants’ employees would

punch in and out using their badges during the day.

   16. Defendants instructed Plaintiff Santiago that she was required to stay within her assigned

forty-hour work schedule using the “Kronos” timekeeping system. This instruction not only

included punching in and out for her workday, but also included punching in and out for her



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thirty-minute lunch break every day, regardless of whether Plaintiff Santiago had taken her lunch

break.

   17. Defendants’ strict demand that their employees, including Plaintiffs, adhere to their forty-

hour workweek required that Plaintiffs rarely, and almost never, record all their hours worked

using the Defendants’ “Kronos” time system. Plaintiff Santiago was constantly contacted to

work in person or remotely before or after her fixed work schedule, including the weekends.

Plaintiff Santiago was rarely able to accurately log her lunch breaks. Plaintiff Santiago worked

through her lunch break almost every day of her employment and was still forced by Defendants

to clock out using their “Kronos” system. When Plaintiff Santiago clocked out with the intention

of taking a lunch break, she was always interrupted. Defendants placed Plaintiff Santiago under

so much pressure to always be available that she was forced to transfer her calls to her personal

cell phone when she would step out to get food for lunch, which never went uninterrupted.

Moreover, when Plaintiff Santiago happened to not clock out for her lunch because she did not

have time to take a break due to the unrealistic workload, her supervisors, “Veronica” and Krista

“Morrison”, forced her to fill out a “Missed Punch” form which was used to deduct the lunch

break from Plaintiff Santiago’s pay to ensure Plaintiff Santiago stayed within Defendants’

required forty-hour workweek. This practice continued during Plaintiff Santiago’s last ten (10)

years of employment.

   18. In addition to not compensating Plaintiff Santiago for her missed lunch breaks and

forcing her to fraudulently misreport her “missed punches”, Plaintiff Santiago was also forced to

not report her work outside of her fixed schedule. Plaintiff Santiago had access to the

Defendants’ work system from home and Defendants required her to be available 24 hours a day.

Defendants’ “Kronos” time keeping system did not capture the time that Plaintiff Santiago



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worked outside of her regular working hours. Plaintiff Santiago consistently worked

approximately 35 hours overtime per week, overtime work for which she was seldom if ever

compensated and which was rarely if ever that was rarely recorded by Defendants’ timekeeping

system. Plaintiff Santiago’s paystubs always inaccurately reflected an eight-hour workday

regardless of the hours she actually worked.

   19. Defendants’ abusive business practices continued even through Plaintiff Santiago’s

FMLA leave from September 10, 2019, through November 8, 2019 as she was contacted with

questions about Defendants’ systems and required to work during her FMLA leave.

   20. During the periods of her employment with Defendants Plaintiff Umana performed non-

exempt nursing duties at the Defendant’s primary office located at 7440 Spring Village Drive,

Springfield, VA 22150. Plaintiff Umana performed duties ranging from administrative to nursing

as a Hospice, Home Support and Home Health Visiting Nurse.

   21. Defendants assigned Plaintiff Umana a varying schedule from Monday through Friday,

no less than eight (8) hours a day. In addition to her assigned working hours, Defendants

expected Plaintiff Umana to be available and “on-call” a few times a month. Plaintiff Umana,

upon instruction from her supervisors, was to be available when contacted by phone or SMS

outside of her work schedule, even on weekends. For her work, Plaintiff Umana was

compensated at an hourly rate of $37.46 per hour. Plaintiff Umana’s work schedule included a

built-in thirty-minute lunch break and two (2) fifteen (15) minute breaks.

   22. Defendants instructed Plaintiff Umana that she was required to stay within her assigned

forty-hour work schedule. This instruction not only included punching in and out for her

workday, but also included punching in and out for her thirty-minute lunch break, regardless of

whether Plaintiff Umana had taken her lunch break. Plaintiff Umana would often miss her lunch



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break due to her patients’ schedules and Defendants would force her to fill out a “Missed Punch”

form for time she actually worked through her lunch.

   23. Defendants’ strict demand that their employees, including Plaintiffs, adhere to their forty-

hour workweek required that Plaintiffs rarely, and almost never, record all their hours worked

using the Defendants’ “Kronos” time system. Plaintiff Umana was always required to meet a

quota setting a minimum of patients and her production of notes for the corresponding patients.

Although Defendants prohibited their employees from working overtime, the amount of work

assigned to Defendant Umana required her to work more than forty (40) hours a week. Plaintiff

Umana was forced to rarely, if ever, accurately log her time worked regularly. Almost every day,

Plaintiff Umana clocked out an hour early to attempt to clock the least number of hours possible

while continuing to compile her notes, call doctors, and follow up with/for her patients. Due to

Defendants’ overtime prohibition, Plaintiff Umana worked an average of 8.5 hours of unpaid

overtime and straight time a week.

   24. During their period of employment, Plaintiffs worked exclusively for Defendants.

   25. The activities Plaintiffs performed are an integral part of the overall business operation of

the Defendants’ business.

   26. Defendant Erickson was a joint employer of Plaintiffs under the test established in

Salinas v. Commercial Interiors, Inc., et al., 848 F.3d 125, 141-42 (4th Cir. 2017).

   27. When viewed in its entirety, Plaintiffs’ relationship with Defendant Erickson is that of an

employee as defined by the FLSA, and Defendant Erickson is their joint employer together with

Defendant Greenspring. As held in Salinas, “[t]he ultimate determination of joint employment

must be based upon he circumstances of the whole activity.” 848 F. 3d at 142 (citations omitted).




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   28. Defendants have systematically violated the overtime laws of the United States in at least

the following ways:

       a) Defendants failed to pay Plaintiffs their overtime compensation for hours worked in

       excess of forty (40) hours per week; and

       b) Defendants failed to maintain accurate records of the time worked by

       Plaintiffs.

   29. Plaintiffs regularly worked more than forty hours in almost every week they worked

during their employment with Defendants.

   30. Plaintiffs sustained substantial losses from Defendant’s failure to pay them overtime

compensation.

                                             COUNT I

       VIOLATION OF THE FEDERAL FAIR LABOR STANDARDS ACT (FLSA) -
                              OVERTIME

   31. Plaintiffs reallege and incorporate by reference all previous paragraphs.

   32. At all relevant times, Defendant Greenspring has been an “employer” engaged in

interstate commerce within the meaning of the FLSA, 29 U.S.C. § 203.

   33. At all relevant times Defendant Greenspring has employed Plaintiffs as “employee[s]”

within the meaning of the FLSA.

   34. At all relevant times, Defendant Greenspring has had gross operating revenues in excess

of $500,000.

   35. At all relevant times, Defendant Erickson has been an “employer” engaged in interstate

commerce within the meaning of the FLSA, 29 U.S.C. § 203.

   36. At all relevant times Defendant Erickson has employed Plaintiffs as “employee[s]”

within the meaning of the FLSA.

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   37. At all relevant times, Defendant Erickson has had gross operating revenues in excess of

$500,000.

   38. At all relevant times, Plaintiffs were not exempt from the overtime wage

provisions of the FLSA.

   39. Throughout the statute of limitations period covered by these claims, Plaintiffs regularly

worked in excess of forty (40) hours per workweek.

   40. At all relevant times, Defendants have willfully failed and refused to pay the Plaintiffs at

time-and-a-half rates for work in excess of forty (40) hours per workweek, and under which it

has willfully failed to keep records required by the FLSA, even though the Plaintiffs have been

and are entitled to overtime.

   41. At all relevant times, Defendant willfully, regularly, and repeatedly failed to pay

Plaintiffs at the required overtime rates, one and-a-half times their regular hourly rates, for hours

worked in excess of forty (40) hours per workweek.

   42. The Department of Labor ("DOL") explains that automatic deductions are appropriate

only if "the employer accurately records actual hours worked, including any work performed

during the lunch period." DOL Wage & Hour Op. Ltr., No. FLSA 2007-1NA (May 14, 2007),

2007 WL 5130264 ("DOL Op. Letter"); Wage & Hour Div., U.S. Dep't of Labor, Fact Sheet #53,

The Health Care Industry and Hours Worked (July 2009) ("DOL Fact Sheet"), available at

http://www.dol.gov/whd/regs/compliance/whdfs53.pdf. The DOL emphasizes that mealtime is

time during which an employee is "completely relieved" and that employers "must always . . .

compensate employees for work time." DOL Op. Letter at 2. Moreover, "hours worked" is

defined as "all time an employee must be on duty, on the employer premises, or at any other




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prescribed place of work . . . [and] any additional time the employee is 'suffered or permitted' to

work." DOL Fact Sheet at 1.

   43. The burden is on the employer to ensure the employees are receiving the full meal break

and are not working, either actively or inactively, during that time. Id. at 3 (citing 29 C.F.R. §

785.19(a) and noting that the employer must pay if the employee's meal break is "interrupted to

the extent that the meal period is predominantly for the benefit of the employer"); see 29 C.F.R.

§ 785.13 ("[I]t is the duty of the management to exercise its control and see that the work is not

performed if it does not want it to be performed. It cannot sit back and accept the benefits

without compensating for them. The mere promulgation of a rule against such work is not

enough. Management has the power to enforce the rule and must make every effort to do so.");

Roy v. Cnty. of Lexington, 141 F.3d 533, 544 (4th Cir. 1998) (stating that the burden rests with

the employer to demonstrate entitlement to mealtime payment exemptions under the FLSA);

Johnson v. City of Columbia, 949 F.2d 127, 129-30 (4th Cir. 1991) (same); Abendschein v.

Montgomery Cnty., 984 F. Supp. 356, 359 (D. Md. 1997) (same).

   44. Defendants’ timekeeping policies do not provide a means by which employees can

accurately report time, and Defendant cannot simply abdicate responsibility for adequate

compensation by shifting the burden to employees. See Quickley v. University of Maryland

Medical System Corporation, Civil No. CCB-12-3211 (USDC, D. MD, Sept. 14, 2012).

Moreover, Defendants required Plaintiffs to work through lunch despite Defendants’ automatic

deduction of one hour from their pay every day.

   45. Plaintiffs seek damages in the amount of the unpaid overtime compensation owing,

liquidated damages as provided by the FLSA for overtime violations, attorneys’ fees and costs,

and such other legal and equitable relief as this Court deems just and proper.



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   46. Plaintiffs seek damages in the amount of the unpaid wages compensation owing,

liquidated damages as provided by the FLSA for overtime violations, attorney’s fees and costs,

and such other legal and equitable relief as this Court deems just and proper.

                                             COUNT II

                    VIOLATION OF VIRGINIA WAGE PAYMENT LAW –
                               Virginia Code § 40.1-29 50.

   47. Plaintiffs re-allege and incorporated by reference the allegations set forth in the preceding

paragraphs.

   48. Virginia Code § 40.1-29 provides that “[n]o employer shall withhold any part of the

wages or salaries of any employee except for payroll, wage or withholding taxes or in

accordance with law, without the written and signed authorization of the employee.”

   49. Virginia Code § 40.1-29 also provides that an employee shall be timely “paid all wages

or salaries due to him for work performed….”

   50. Virginia Code § 40.1-29 also requires that an “employer … shall provide to each

employee a written statement, by a paystub or online accounting, that shows … the number of

hours worked during the pay period if the employee is paid on the basis of … the number of

hours worked [and] the rate of pay…. The Paystub or online accounting shall include sufficient

information to enable the employee to determine how the gross and net pay were calculated.”

   51. Virginia Code § 40.1-29 also provides that “if an employer fails to pay wages to an

employee in accordance with this section, the employee may bring an action, individually,

jointly, with other aggrieved employees, or on behalf of similarly situated employees as a

collective action consisted with the collective action procedures of the Fair Labor Standards Act,

29 U.S.C. § 216(b), against the employer in a court of competent jurisdiction to recover payment




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of the wages and the court shall award the wages owed, an additional equal amount as liquidated

damages, plus prejudgment interest … and reasonable attorney fees and costs.”

   52. Virginia Code § 40.1-29 also provides that “[i]f the court finds that the employer

knowingly failed to pay wages to an employee in accordance with this section, the court shall

ward the employee an amount equal to triple the amount of wages due and reasonable attorney

fees and costs.”

   53. Defendants violated Virginia law by knowingly failing to pay Plaintiffs their wages due

for hours worked over forty in a week and knowingly failing to provide Plaintiff paystubs

showing hours worked the rate of pay.

   54. Plaintiffs were “employees” and Defendants were their “employers.”

   55. Defendants’ violations of Virginia law were repeated, knowing, willful, and intentional.

 WHEREFORE, Plaintiffs, pray for relief as follows:

   A. A declaratory judgment that the practices complained of herein are unlawful under the

       FLSA;

   B. A finding that Defendants have willfully violated the FLSA;

   C. An award of damages, according to proof, including liquidated damages, to be paid by

       Defendants, such damages estimated based on Plaintiffs’ hourly rates and hours worked;

   D. Unpaid wages, plus an equal amount as liquidated damages, pursuant to the FLSA, 29

       U.S.C § 216;

   E. Unpaid wages, plus treble damages as liquidated damages, pursuant to the provisions of

       Virginia Code § 40.1-29 effective July 1, 2020.

   F. An award of prejudgment and post-judgment interest, as provided by law;

   G. An award of reasonable attorneys’ fees and costs incurred; and



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   H. Such other and further legal and equitable relief as the Court deems necessary, just and

      proper.



PLAINTIFFS ASK FOR TRIAL BY JURY ON ALL ISSUES SO TRIABLE



                                Respectfully submitted,
                             STEPHANIE SANTIAGO and
                          DONNA CHRISTIAN GALEAS UMANA
                                     By Counsel



                      ________________/s/_______________________
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